AL:EAG |
F. # 2016RO00119

UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK

 

UNITED STATES OF AMERICA TO BE FILED UNDER SEAL

 

against - So COMPLAINTAND

AFFIDAVIT IN
GINO GABRIELLYI, SUPPORT OF

, APPLICATION FOR
Defendant. ARREST WARANT

(18 U.S.C. § 844(i) and 3551
et seq.)

EASTERN DISTRICT OF NEW YORK, SS:

Paul Tambrino, being duly sworn, deposes and states that he is a Special Agent
with the Federal Bureau of Investigation, duly appointed according to law and acting as such.

On or about December 4, 2015, within the Eastern District of New York and

elsewhere; the defendant GINO GABRIELLI did knowingly, intentionally and maliciously
damage and destroy, and attempt to damage and destroy, by means of fire and an explosive, a
vehicle used in interstate and foreign commerce and in an activity affecting interstate and
foreign commerce.

(Title 18, United States Code, Sections 844(1) and 3551 et seq.)

The source of your deponent’s information and the grounds for his belief are as

follows:!

 

' Because the purpose of this Complaint is to set forth only those facts necessary to

establish probable cause to arrest, | have not described all the relevant facts and circumstances
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1. Iam a Special Agent with the Federal Bureau of Investigation (“FBI”)
and have been involved in the investigation of numerous cases involving racketeering and
racketeering conspiracy relating to the Gambino organized crime family of La Cosa Nostra and
including murder, robbery, extortion and loansharking, among other crimes committed by
members and associates of that crime family. I am familiar with the facts and circumstances
set forth below from my participation in the investigation, my review of the investigative file,
and. from reports of other law enforcement officers involved in the investigation.

2, A review of : a surveillance video taken on December 4, 2015, at
approximately 3:50 a.m., shows an individual, later identified as the defendant GINO
GABRIELLI, approaching a white 2014 S550V Mercedes (the “Mercedes”), parked on 87th
Street in the Howard Beach neighborhood of Queens, New York. The video shows (a) the
individual pouring a liquid over the Mercedes, (b) the Mercedes then erupting in flames, and
(c) the individual, whose right leg by then is also enguifed in flames, running away from the
Mercedes. Following the fire, the Mercedes was declared by an insurance company to be
“totaled.” Police officers with the Evidence Collection Team recovered a lighter (the
“Lighter”) and what appeared to be a burned gas can near the vicinity of the Mercedes.

3. A canvas of local hospitals revealed that the defendant GINO
GABRIELLI arrived at Jamaica Hospital Medical Center at approximately 4:10 am., on
December 4, 2015, approximately 20 minutes after the Mercedes erupted in flames, with
third-degree burns. The defendant GINO GABRIELLI reported to officers with the New York

City Police Department (“NYPD”) that he suffered the burns to his right leg as a result of a fire

 

- of which I am aware.
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that occurred while he was cooking chicken and rice in a pot at his residence (the “Residence”).
The defendant explained that he accidentally knocked the pot over, and oil spilled and ignited
his blue jeans, causing burns to his right leg and damage to the kitchen.

4, Fire marshals thereafter spoke with the defendant’s mother, who resides
at the Residence with the defendant. The defendant’s mother reported that she had been at the
Residence ali night, that no one had cooked anything that evening, and that there were no dirty
dishes in the sink. The defendant’s mother also denied that any fire had occurred at the
Residence.

5. Hospital officials reported that the defendant GINO GABRIELLI’s
clothing reeked of gasoline when he arrived at the hospital. Subsequent testing on clothing
recovered from the defendant GINO GABRIELLI revealed ‘the presence of gasoline
~ throughout.

6. A review of an Instagram account that appears to belong to the defendant
GINO GABRIELLI reveals that the defendant’s grandfather operates a pizzeria in the Ozone
Park neighborhood of Queens, New York (“Pizzeria #1”). A review of a Facebook account
that appears to belong to the defendant GINO GABRIELLI reveals that the defendant works as
a waiter at Pizzeria #1.

7. The lessor of the Mercedes (the “Lessor”) reported that the Lessor also
operates a pizzeria in Ozone Park, Queens (“Pizzeria #2”). In or about November 2015, a
customer advised Pizzeria #2 that Pizzeria #1 had agreed to cater an event for approximately
$1,300, and requested that Pizzeria #2 cater the event instead of Pizzeria #1. The owner of

Pizzeria #2 — the Lessor — agreed to cater the event for $1,300.
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8. On the afternoon of December 4, 2015, a relative of the defendant GINO
GABRIELLI (the “Relative”) went to Pizzeria #2 in search of the Lessor and thereafter placed a
telephone call to the Lessor’s cellular telephone number. When the Lessor picked up the
telephone, the Relative attempted to persuade the Lessor to not pursue charges related to the
arson of the Mercedes.

9. Based on my training and experience, and my participation in this
investigation, including my review of the evidence described herein, there is probable cause to
believe that the defendant GINO GABRIELLI set the Mercedes on fire.

10. The Mercedes was leased to the Lessor by Rallye Motors and
Mercedes-Benz Financial Services, a corporation that operates in interstate commerce and is
headquartered outside of New York.

_ WHEREFORE, your deponent respectfully requests that the defendant GINO
GABRIELLTI, be dealt with according to law.

bod Td:

Paul Tambrino
Special Agent, Federal Bureau of Investigation

 

Sworn to before me this
JS day of February. 2016

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